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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.1
                                Eastern Division

Wayne H. Norman
                             Plaintiff,
v.                                                 Case No.: 1:18−cv−00643
                                                   Honorable John Robert Blakey
Ted Thomas, et al.
                             Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, April 12, 2018:


        MINUTE entry before the Honorable John Robert Blakey: The Court is in receipt
of Plaintiff's notice of voluntary dismissal [20], this case is hereby dismissed with
prejudice. All pending deadlines and hearings, are stricken. Civil case terminated. Mailed
notice(gel, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.

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